                            Case 3:17-cv-02750-S Document 1 Filed 10/06/17                                                                                       Page 1 of 2 PageID 1
JS 44 (Rev. 06/ 17)- TXND (Rev. 06/17)                                                   CIVIL COVER SHEET
T he ~S 44 civil cover sh eet a nd the ip fo n nation com uined herein .n~ither replace no~ suppiC!llelll th e IHing and service of pleadings or other papers .as required by law, except as
pmv u.lcd h).' loCillrulcs of court. TI11. fonn, upp rovcd by the Judtctal Conference of the Um tcd S tntcs m September 1974, ts reqUired for the usc o lt.hc Clerk of Court for the
purpose ol ini ti Ali ng the civi l doc ket s he e t. (SeE INSTRUC TIONS ON NE).T PAGE OF TJJJS FORM)

I. (a) PLAINTIFFS                                                                                                              DEFENDANTS
 DORIS RAMBO, On BehalfofHcrsclfand All Others Similarly Situated                                                             UPLIFT EDUCATION



     (b)    Co un ty of Residence of First Listed Plaintiff                     .=
                                                                                 D::.,a""l"'
                                                                                          la,s _ _ _ _ _ _ __                  County of Residence of First Listed Defendant                      _D
                                                                                                                                                                                                   = a:::ll:.:::a;::.
                                                                                                                                                                                                                  s _ _ _ _ _ _ _ __
                                     (EXCEPT IN US. PLAINTIFF CASES)                                                                                        (TN U.S. PLAIN.TTFF CASES ONLY)
                                                                                                                               NOTE:            IN LAND CONDEMNATION CASES, USE TilE LOCATION OF
                                                                                                                                                THE TRACT OF LAND INVOLVED.

     (C) Attorneys (Firm Name,          Address, and Telcphooe Number)                                                          A ttorn eys (!(Known)

 Vincentl . Bhatti, Ditty          S.   Bhatti, The Bhatti      Law Fim1,                PLLC                                 K a thryn E . Long,         J. Dav id       G idd e n s, Tho mps on   & Horton,        LL P
 14785 I Preston       Road, Stc        550,   Dallas,     TX 75254                                                           500 N.      Akard Street, Suite             3 150, D a llas,   TX   75201

n.       BASIS OF JURISDICTION (Piacean"X"inOneBoxOnly)                                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                                      "X" i11 One Box for PlaintiJJ
                                                                                                                       (For Dil'ersity Cases 011ly)                                                   and One Box for Dc[e11dant)
Cl 1      U.S. Government                 >( 3    Federal Question                                                                                 PTF                DEF                                              PTJl      OEF
             PlainlitT                              (U.S. Government Not a Party)                               Cit ilcn of This State            0 I                 0      I   Incorporated or Principal Plocc        0 4      0 4
                                                                                                                                                                                   of Business fn This State

n    2    U.S. Government                 ::J 4   Diversity                                                     Citizen of Another Slate                    Cl 2      n     2    Incorporated and Pt·incipal Place          n   5   n   5
            Defendant                                (Indicate Cilizeuship of Parties in flemlll}                                                                                   of Business In Another Stale

                                                                                                                Citizen or Subject of a                     0 3       0     3    Foreign Nation                             Cl 6    n   6
                                                                                                                      Forci         ()tiJIIrY

IV. NATURE OF SUIT (f'la.·t• an "X " in One Box Only)                                                                                                                  Click here for: Nmurc of S uit Cmlc Des.:ri!ltion$.
              DN' I' RA(                                                       T ORT S                                               URt:f PENA        IY               BA NKRI JP1 ~y
0 l l0  Insurance                           PERSONAL INJURY                           PERSONAL INJURY           0 625 Drug Related Seizure                       0 422 Appeal 28 USC 158             0 375 False Claims Act
!I120   Marine                           ;I 310 Airplauc                          n   365 Pcr.;onal Injury -           ofPropcrty 2\ USC 88\                     Cl 423 Withdn•wal                   0 376 Qui Tam (3 I USC
II130   Miller Act                       ;I 3 I5 Airplane Product                          Product Liability    II 690 Other                                            28   usc\57                            3729(a))
0 140   Negotiable lnslrument                     Liability                       0 367 Health Carel                                                                                                 0   400   Stale Reapportionment
0 \50   Recovery of Overpayment          0 320 Assault, Libol &                           Pllarmacculical                                                           PROPER'I'Y lU G II' S            0   410   Antilntsl
        & Enforcement ofJudgnuml                  Slander                                 Personal Injury                                                        CJ 820 Copyrights                   0   430   Banks and Dunking
n I 5 J Medicare Act                     n 330 Federal Employers'                         Product Liability                                                      II 830 Patent                       0   450   Commerce
II !52 Recovery of Dcfimltcd                      Liability                       n 368 Asbestos Personul                                                        II 835 Patent - Abbreviated         0   460   Deportation
        S tudcnt Loans                   0 340 Marine                                      Injury Product                                                                New Drug Application        0   470   Racketeer lnnuenccd and
        (Excludes Veterans)              0 345 Marine Product                              Liability                                                             0 840 Tradenuuk                               ComJpt Orgnni zn tions
r:J 153 Recovery of Overpayment                   Liubility                          PERSONAL PROPERTY                               I ,A I!~JR                      SO( lA. S F~C JRI ·y                480 Consumer Credit
        of Veteran's Benefits            0 350 Motor Vehi cle                     n 370 Other Fraud             r.oJ 710 Fair Labor Standards                    Cl 86 I HIA (!395ft)                 n 490 Cable/Sui TV
CJ 160 Stockholders' Suits               n 355 Motor Vehicle                      r:J 371 Tntlh in Lending                    Act                                t:J 862 Black Lung (923)             n 850 Securities/Commodities/
n 190 Other Contract                             Product Liubilily                ['I 380 Other Personul        Cl 720 Lnbor/Munagcment                          Cl 863 DIWC/DJWW (405(g))                    Exchange
0 t 95 Contract Product Liability        0 360 Other Pcn;onal                             Property Damage                  Relations                             0 864 SSID Title XVI               lo   890 Other Statutory Actions
n 196 Franchise                                  Injury                           n 385 Property Damage         II    740 Railway Labor Act                      0 865 RSI (405(g))                   (J 891 Agricultural Acts
                                         0 362 Pcrnonal h~ury -                           Prnduet Liability     t'J   751 Family and Medical                                                          0 893 Environmenta.l Mattern
                                                 Medical Mnlpraeticc                                                       Leave Act                                                                In   895 Freedom of Information
         R•: A.L PROPl':RTV                    CNIL IUGBTli                        l'RlSONER P [,"J'JT IONS     CJ    790 Other Labor Litigntion                     FEDE RA L TAX SU ITS                    Act
0    210 Land Condemnation               0 440 Other Civil Rights                    Habeas Corpus:             0     791 Employee Retirement                    0 870 Taxes (U.S. Plninliff        10 896 Arbitration
0    220 foreclosure                     0 441 Voting                             0 463 Alien Detainee                    Income Sccurily Act                            or Defcndunt)                0 899 Administrative Procedure
ll   230 Rent Leosc & Ejectment          !.I 442 Employment                       n 5 I 0 Motions to Vacate                                                      t'J 871 IRS-Third Party                     AcVRcview or Appeal of
11   240 Tori!! to Land                  :.1 443 Housing/                    Sentence                                                                                    26  usc 7609                        Agency Decision
0    245 Tori Product Liability                 AcconunodaLions        0 530 General                                                                                                                I 0 950 Conslilutionalily of
Cl   290 A II Olhcr Real Property        Cl 445 Amcr. w/Disahilities • 0 535 Death Penalty                              IMMJG RAT JON                                                                        State Stlttutcs
                                                Employment               Other:                                 Cl 462 Naturalization Application
                                         0 446 Amcr. w/Disabilities - n 540 Mandamus & Other                    t:J 465 Other lmmigmtion
                                                Other                  n 550 Civil Rights                               Actions
                                         Cl 448 Education              0 555 Prison Condition
                                                                       0 560 Civil Detainee ·
                                                                             Conditions of
                                                                             Confinement

V. ORIGIN (Place m1               "X" in One Box Only)
0 I      Originnl           ~2 Removed from                         lJ    3      Remanded from          0 4     Reinstated or               0 5 Transferred from                 0 6   Multidistrict             0 8   Multidistrict
         Proceeding            SiatcCourt                                        Appellate Court                Reopened                           Ano ther D is tric t                L itiga tio n-                  Lit igation-
                                                                                                                                                   (.<p.:cljj~                         Tra ns fer                      Direc t File




                                                                                                                                                            e disc1imin a t ion      in v io lation of ADEA and T C HRA .
VII. R EQUESTED IN                                                                                                                                                           CHECK YES on ly if demande d in comp la int:
     COMPLAINT:                                                                                                                                                              J URY DEMAND:                ]j( Yes         lJN o

VIII. RELATED CASE(S)
                                                  (See   iiJSII'IICiiOIJS)."
      IF ANY                                                                                                                                                       DOCKET NUMBER
DATE
10/06/2017
FOR on1CE USE 0             I.Y

     RECEI PT#                      AMOUNT                                                                                                                                              MAG. JUDGE
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                     Case 3:17-cv-02750-S Document 1 Filed 10/06/17
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                                                                                                            Page 2 of 2 PageID 2

INSTRUCTIONS FOR ATTORNEYS COMPl.ETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information conlained hcreinneilher replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This t'lmn, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency,
         use only the full name or standard abbreviations. lfthe plaintiff or defendant is an official within a government agency, identity tlrst the agency and
         then the otlicial, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintitf cases, enter the name of the county where the first listed plaintiff resides at
         the time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence oftlJC "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the finn name, address, telephone number, and attomey of record. lfthere are several attomcys, list them on an altachmcnt,
         noting in this section "(sec attachment)".

IJ.     .Jurisdiction. The basis of,iurisdiction is set forth under Rule 8(a), F.R.Cv.l'., which requires that jurisdictions be shown in pleadings . Place an
        "X" in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
        United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
        United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
        to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
        precedence, and box 1 or 2 should be marked.
        Diversity of citizenship. (4) This refers to suits under 2t-i U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
        cases.)

rn.      Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark
         this section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit
         code that is most applicable. Click here for: N<Hure of Suit Code Desniptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. ( l) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Usc the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred fi·om Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not usc this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation- Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation- Direct File. (8) Check this box when a multidistrict case is flied in the same district as the Master MDL docket.
         PLEASE NOTE THAT TliERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

vr.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite
        jurisdictional statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such tis a preliminaty it~ unction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII.   Related Cases. This section ofthc JS 44 is used to reference related pending cases, if any. If a related case exists, whether pending or closed,
        insert the docket numbers and the corresponding judge names for such cases. A case is related to this tiling if the case: l) involves some or all of the
        same parties and is based on tl1e same or similar claim; 2) involves the same property, transael'ion, or event; J) involves substantially similar issues of
        law and fact; and/or 4) involves the same estate in a bankruptcy ~ppeal.

Date and Attorney Signature. Date and sign the civil cover sheet.
